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Proposed Counsel to the Debtors and Debtors-in-Possession

                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY


In re:                                                   Chapter 11

EVERGREEN I ASSOCIATES, LLC, et al.,1                    Case No. 21-17116 (CMG)

                                        Debtors.         (Joint Administration Requested)

                                                         Judge: Christine M. Gravelle

    DEBTORS’ (I) RESPONSE TO MOTION OF 710 ROUTE 38 ABL I HOLDINGS,
    LLC FOR ENTRY OF AN ORDER EXCUSING RECEIVER FROM COMPLYING
    WITH CUSTODIAL TURNOVER REQUIREMENTS AND KEEPING RECEIVER
    IN POSSESSION AND CONTROL OF THE MORTGAGED PREMISES AND
    RENTS PURSUANT TO 11 U.S.C. § 543(d) AND (II) CROSS-MOTION
    FOR    ENTRY     OF    AN   ALTERNATIVE   FORM     OF    ORDER
    PURSUANT TO 11 U.S.C. § 543

         Evergreen I Associates, LLC (“Evergreen I”), Evergreen II Associates, LLC (“Evergreen

II”), Evergreen III Associates, LLC (“Evergreen III”), and Evergreen Plaza Associates, LLC

(“Evergreen Plaza”), the debtors and debtors-in-possession (each a “Debtor” and collectively, the

“Debtors”), by and through their undersigned counsel, hereby submit this: (i) Response (the

“Response”) to the Motion filed 710 Route 38 ABL Holdings 1, LLC as successor-in-interest to

1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
as follows: Evergreen I Associates, LLC (5258); Evergreen II Associates, LLC (5300); Evergreen III Associates,
LLC (5332); and Evergreen Plaza Associates, LLC (5141).
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Pender Capital Asset Based Lending Fund I, LLP (the “Lender”) for entry of an order (i)

excusing IVL Group, LLC (the “Rent Receiver”) from compliance with section 543(a), (b), and

(c) of the Bankruptcy Code, (ii) permitting the Rent Receiver to retain possession, custody, and

control of certain real property of the Debtors, and (iii) excusing the Rent Receiver from turning

over the property and any proceeds, from filing an accounting of the property and any proceeds,

and from being surcharged for any improper or excessive disbursements from the property

[Docket No. 15] (the “Lender’s 543 Motion”), and (ii) Cross-Motion (the “Cross-Motion”) for

entry of an alternative form of order pursuant to section 543 of the Bankruptcy Code (the

“Proposed Alternative Order”). In support of this Response and Cross-Motion, the Debtors

respectfully submit as follows:

                                  PRELIMINARY STATEMENT

       Contrary to the Lender’s tale, the Debtors filed their bankruptcy cases with a clear good

faith goal in mind, i.e. to obtain replacement financing in order to refinance and repay the

Lender. In contrast, the Lender’s motives and goals are transparent and, at best, questionable.

The Lender clearly does not want this case to move forward in the ordinary course like virtually

every other Chapter 11 case, and obviously does not want to give the Debtors the opportunity to

refinance and repay the Lender. Instead, the Lender seeks to prevent the Debtors from making

any progress at all in an effort to put everything “on ice” so that its motion to dismiss can be

heard by the Court before anything substantive can occur in these cases. The Lender’s strategy

is transparently designed to promote its arguments that the Debtors are purportedly not using

bankruptcy for a proper purpose, all in a disingenuous effort to seize and obtain title to the

Property.




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       The Lender’s 543 Motion is yet another attempt by the Lender to further its own agenda.

Indeed, the Debtors agree (and in fact indicated to the Lender before it even filed its 543 Motion)

with virtually all of the relief sought in the Lender’s 543 Motion, except for certain very limited

modifications needed for the Debtors to move their cases forward.           However, rather than

communicate with the Debtors in an effort to reach a consensual resolution, the Lender instead

has sought to control the process and engage in delay. The transparent efforts by the Lender to

thwart the Debtors’ reorganization are a bad faith effort to deny the Debtors the benefits of the

bankruptcy proceedings. As a result, the Debtors seek the assistance of the Court to right the

ship and request that the Court enter the Debtors’ alternative form of order on an expedited basis

so that the Debtors are granted a real opportunity to reorganize.

         STATEMENT OF RELEVANT FACTS AND PROCEDURAL HISTORY

       A. The Debtors’ Property

       1.      The Debtors own commercial property located at S. Pemberton Road and 1722

Route 38, Mt. Holly, New Jersey 08060 (the “Property”).               The Property consists of

approximately twenty (20) contiguous acres divided as follows: (i) a shopping center known as

“Evergreen Plaza” located on approximately 11.5 acres of land with 88,000 square feet of retail

space occupied by various commercial tenants; (ii) approximately 7.5 acres of vacant real estate

suitable for commercial or residential multi-family usage; and (iii) approximately one (1) acre of

vacant real estate suitable for retail development.

       B. The Loan/Foreclosure/Receiver

       2.      On or about March 14, 2018, the Lender made a loan to the Debtors in the

principal amount of $6.5 million (the “Loan”). As security for repayment of the Loan, the

Debtors executed and delivered to the Lender a promissory note in the principal amount of


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$6,500,000.00 (the “Note”), secured by a Mortgage, Assignment of Rents and Security

Agreement, as subsequently amended (the “Mortgage”) encumbering the Property.

          3.   On February 12, 2019, the Lender commenced a foreclosure action titled Pender

Capital Asset Based Lending Fund I, LP in the Superior Court of New Jersey, Chancery

Division, Burlington County (the “Superior Court”), Docket No. SWC-F-002953-19 (the

“Foreclosure Action”).

          4.   On August 26, 2019, on the Lender’s motion and over the objection of the

Debtors, the Superior Court entered an Order Appointing Rent Receiver to Maintain the

Mortgaged Property, dated August 26, 2019 (“Receivership Order”) appointing IVL Group, LLC

as receiver (“Rent Receiver”), which was amended by subsequent orders dated February 21,

2020 and October 19, 2020 (“Receivership Orders”).

          5.   The Receivership Orders provided the Rent Receiver with various duties and

powers, including the obligation to enter into, renew, extend and modify any existing or new

leases.

          6.   The Receivership Orders also gave the Rent Receiver the duty to manage the

Property and to market the Property for lease and/or to enter into agreements to hire management

companies, brokers and leasing agents.

          7.   The Receivership Orders specifically enjoined the Debtors and their agents from,

among other things, entering upon the Property without the prior written permission of the Rent

Receiver and negotiating with tenants at the Property.

          8.   On November 13, 2020 the Superior Court entered a Final Judgment of

Foreclosure in favor of the Lender in the principal amount of $8,591,437.90, together with an

award of statutory attorneys’ fees in the amount of $7,500.00 and post-judgment interest.


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       9.      The foreclosure sale of the Property was scheduled to proceed on September 9,

2021 at 12:00 noon.

       C. The Bankruptcy Cases

       10.     On September 9, 2021 (the “Petition Date”), the Debtors filed with this Court

voluntary petitions for relief pursuant to Chapter 11 of the Bankruptcy Code, thereby

commencing the above-captioned bankruptcy cases (the “Bankruptcy Cases”) and staying the

scheduled foreclosure sale.

       11.     On September 13, 2021, the Court conducted a status conference in these cases.

During that status conference, the Debtors advised the Court that the Debtors filed these

bankruptcy cases in an effort to obtain a breathing spell needed to obtain replacement financing,

refinance and repay the Lender, and make progress towards their ultimate goal developing their

entire real property.

       12.     As is set forth at length in the Initial Declaration of Nicholas J. Aynilian, Sr. in

Support of the Debtors’ Chapter 11 Petitions and Related Motions [Docket No. 23], the Debtors’

ultimate goal of continuing to develop those areas of the Property that have not yet have been

developed for multi-family residential and/or commercial retail use has been stalled due to

ongoing litigation with the Lender (or its assignor predecessor).

       D. The DIP Term Sheet Letter Agreement

       13.     In furtherance of their goal in these cases to obtain replacement financing that will

be used to refinance and repay the Lender, shortly before the Petition Date, the Debtors reached

an agreement with a prospective refinancing debtor-in-possession lender, Urban Bay Housing

Fund, LLC (“Urban Bay”), concerning funding for an $8 million debtor-in-possession (“DIP”)




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loan. In connection with that agreement, the Debtors executed a term sheet letter agreement with

Urban Bay, contingent upon approval of this Court (the “DIP Term Sheet Letter Agreement”).

          14.   The DIP Term Sheet Letter Agreement remains subject to certain conditions

precedent, including (i) approval of this Court, (ii) certain due diligence; (iii) site inspection,

title, survey and lien review, leases (including estoppels from existing tenants), tenants’

financials, environmental review, and valuation review; and (iv) the renewal of certain tenant

leases.

          15.   Very importantly, a good portion of the DIP loan with Urban Bay has already

been underwritten, and the Debtors understand that Urban Bay is prepared to move quickly to

hopefully bring the DIP loan to closing, which is an important first step towards moving these

bankruptcy cases forward. With an anticipated DIP loan closing date (which DIP loan would

also need approval from this Court) of October 27, 2021, time is of the essence.

          16.   As a result, on September 16, 2021, the Debtors filed a motion to approve the DIP

Term Sheet Letter Agreement (the “DIP Term Sheet Motion”), along with certain other

pleadings and an Application for Expedited Consideration (the “Application for Expedited

Consideration”).2

          17.   As set forth in the DIP Term Sheet Motion, the relief requested is a necessary first

step to moving these cases forward. Importantly, there is no risk borne by the Debtors’ estates in

approving the relief requested, as the Debtors’ principal, Mr. Aynilian, has “put his money where

his mouth is,” so to speak, and has wired the $25,000 good faith deposit to the proposed DIP




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  Not surprisingly, yet inexplicably, the Lender opposed the Application for Expedited Consideration
[Docket No. 26]. The Court entered an order over the Lender’s objection [Docket No. 27] and scheduled
a hearing on, inter alia, the DIP Term Sheet Motion for September 21, 2021 at 3:30 p.m..

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lender, as required by the DIP Term Sheet Letter Agreement (as defined in DIP Term Sheet

Motion).

       E. Negotiations Concerning Section 543 Relief and the Lender’s Motion

       18.     Immediately prior to the Petition Date, the Debtors began to engage in discussions

with the Rent Receiver regarding the Property. Among other things, the Debtors sought to reach

an agreement on the role of the Rent Receiver going forward.          In connection with these

discussions, the Debtors never sought to oust the Rent Receiver. To the contrary, the Debtors

were focused on reaching a consensual resolution with the Rent Receiver that maintained the

status quo at the Property while allowing the Debtors to advance their goals of refinancing and

repaying the Lender while obtaining the necessary access to the Property, as well as necessary

information from the Rent Receiver, to both obtain a loan commitment from the proposed DIP

lender and to prepare their bankruptcy schedules and statements of financial affairs. The Debtors

communicated this Chapter 11 goal to the Lender very shortly after the Petition Date. (See the

accompanying Certification of Joseph L. Schwartz (the “Schwartz Cert.”) at Exhibit A).

       19.     After negotiations and discussions over several days, during the week of

September 13, 2021, the Debtors and the Rent Receiver reached an agreement in principle

whereby the Rent Receiver would remain in possession of the Property, pursuant to the Receiver

Orders, subject to certain limited modifications.

       20.     Based upon this understanding, and with the express consent of the Rent

Receiver, the Debtors prepared a consent order with the Rent Receiver memorializing the terms

of the arrangement, with the belief that this agreement would also avoid unnecessary litigation

and be agreeable to the Lender because it maintained the status quo. In fact, on the afternoon of

September 15, 2021, the Debtors expressly advised the Lender that they were speaking with the


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Rent Receiver “regarding terms of the [Rent] Receiver staying in” and further advised the Lender

that the Debtors “assume that you will have no problems with the solution.” (See Schwartz Cert.

at Exhibit B). Unfortunately, the Lender had different plans.

       21.     While the Debtors were in the process of preparing the consent order with the

Rent Receiver, and a few hours after the Debtors advised the Lender of the “solution,” on the

evening of September 15, 2021, the Lender filed the Lender’s 543 Motion, wherein the Lender

seeks to, among other things, excuse the Rent Receiver from complying with the turnover

requirements of section 543 of the Bankruptcy Code. See Docket No. 15.

       22.     As outlined below, the Debtors agreed with much of the relief sought by the

Lender. In fact, the Proposed Alternative Order provides for the same.

       23.     Additionally, immediately after the proposed consent order with the Rent

Receiver was drafted, in an effort to resolve this matter, on the morning of September 17, 2021,

the Debtors sent a copy of the proposed consent order to the Rent Receiver and his counsel (see

Schwartz Cert. at Exhibit C), as well as to the Lender (see Schwartz Cert. at Exhibit D).

       24.     Despite the fact that the Debtors’ proposed consent order with the Rent Receiver

provided the Lender with virtually everything the Lender requested in the Lender’s 543 Motion,

the situation deteriorated rapidly – with the Lender refusing to even review the consent order.

(Schwartz Cert. at Exhibit E). In fact, despite having sent the proposed consent order with the

Rent Receiver to the Lender on the morning of September 17, to date, the Lender has never even

commented on the proposed consent order. Next, the Rent Receiver abruptly changed course by

refusing to engage any further with the Debtors unless the Debtors reached an agreement with

the Lender. (See Schwartz Cert. at F).




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        25.     As a result of the Lender’s refusal to engage in any discussions concerning the

proposed consent order with the Rent Receiver, the Debtors were forced to file this Response and

Cross-Motion seeking to have an alternative form of order entered on an expedited basis in order

to move these bankruptcy cases to move forward.

              RESPONSE AND CROSS-MOTION FOR REQUESTED RELIEF

        26.     Section 543(b) of the Bankruptcy Code provides, in part, that a custodian shall

“deliver to the trustee [or the Debtor] any property of the debtor held by or transferred to such

custodian, or proceeds, product, offspring, rents, or profits of such property, that is in such

custodian’s possession, custody, or control on the date that such custodian acquires knowledge of

the commencement of the case…” and file an accounting of such property. 11 U.S.C. § 543(b).

        27.     Section 543(d) provides an exception to section 543(b) insofar as, after notice and

a hearing, the Court “may excuse compliance with subsections (a), (b) or (c) of [section 543] of

the interest of creditors . . . would be better served by permitting a custodian to continue in

possession, custody, or control of such property,” 11 U.S.C. § 543(d)(1).

        28.     Here, the Lender endeavors to paint the Debtors in an obstreperous light by filing

a motion seeking to excuse the Rent Receiver from compliance with section 543. However, such

a request was not necessary. The Debtors had already agreed to such relief with the Rent

Receiver, and in fact so advised the Lender. As a result, the Lender’s 543 Motion is essentially

uncontested but for certain very limited modifications requested by the Debtors to allow the

Debtors to further their reorganization efforts.3 These modification were outlined in the consent

order to whose terms the Rent Receiver had already agreed in principle and that the Lender

3
  Although the Debtors essentially do not oppose the relief requested in the Lender’s 543 Motion, the
Debtors certainly dispute many of the factual allegations contained therein, which are inaccurate and self-
serving. In the interest of brevity, however, there is no need for the Debtors to address these allegations
specifically at this time.

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refused to even review, and which are now incorporated into the Proposed Alternative Order

submitted herewith.

        29.    More specifically, the Debtors propose the following:

       The Receiver Orders shall remain in full force and effect, except as expressly set forth in
        the Consent Order, and the Rent Receiver shall continue to manage the Property, as
        provided for in the Receivership Orders, subject to the proposed modifications.

       The Rent Receiver shall retain Colliers (a commercial broker/leasing agent in South
        Jersey that specializes in commercial retail leasing) as the Rent Receiver’s commercial
        broker/leasing agent, to market the Property for lease,4 and the Rent Receiver shall take
        all steps to allow Colliers to lease the Property, including but not limited to, providing
        Colliers with the necessary keys or lockbox arrangement in order to market the Property
        for lease.

       The Rent Receiver shall cooperate with the Debtors and provide the Debtors’ counsel
        and/or Colliers (but not the Debtors’ principal, Nicholas Aynilian) with reasonable access
        to the Property for the purpose of assisting the Debtors’ potential debtor-in-possession
        lender(s) to perform due diligence items, conduct inspections and prepare reports in
        connection with potential debtor-in possession financing.

       The Rent Receiver shall take all necessary steps to attempt to finalize lease renewals with
        Jaron’s Furniture of Lumberton, Inc. and any other expiring leases.

       The Rent Receiver shall provide the Debtors with copies of all term sheets, draft leases,
        leases and lease renewal documents as and when those term sheets, draft leases and lease
        renewal documents are exchanged with tenants, and/or provide the Debtors with
        summaries of the terms thereof, and in no event shall the Rent Receiver finalize new
        leases and/or any lease renewals with tenants or reject any proposals for new leases or
        lease renewals without first providing the Debtors with the foregoing documents and/or
        information. In addition, the Debtors shall be permitted to communicate directly with
        Collier regarding all prospective leasing arrangements and related issues.

       The Rent Receiver shall also provide the Debtors with access to all books and records of
        the Debtors, and the Rent Receiver shall provide the Debtors with an accounting of all of
        the Debtors’ property, including an accounting of all rents received by the Rent Receiver
        since his appointment and an accounting of the uses and dispositions of those rental
        proceeds



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 The Rent Receiver has already taken steps to retain Colliers and has represented to Colliers that their
engagement as commercial broker/leasing agent will begin on October 16, 2021. See Schwartz Cert. at
Exhibit G.

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       30.      The entry of the Proposed Alternative Order is critical to the Debtors’ efforts to

expeditiously and effectively restructure and emerge from Chapter 11 bankruptcy.               The

modifications to the Receivership Orders are very limited and are narrowly tailored to effectuate

the Debtors’ plan to refinance and repay the Lender without modifying the Lender’s current

arrangement with the Rent Receiver.

       31.     The Debtors do not seek to control the Property. The Debtors do not seek to

collect rents. Instead, the Debtors’ proposed modifications (to which the Rent Receiver has

agreed in principle) focus primarily on (i) having the Rent Receiver retain Collier as the Rent

Receiver’s new leasing agent/commercial broker, which is already in progress, and (ii) ensuring

that the Debtors have reasonable access to the Property to allow the proposed DIP lender to

perform due diligence and to ensure that certain leases are renewed. In order to alleviate

concerns, the Debtors’ principal has agreed not to engage directly on any of these items and,

instead, the Rent Receiver will work through the Debtors’ counsel or Collier.

       32.     Finally, the Debtors request an accounting and access to the books and records in

order to enable the Debtors’ to prepare their schedules and statements of financial affairs.

       33.     In short, the Debtors seek to essentially maintain the status quo except for this

limited relief, which is necessary to move the Debtors towards a potential reorganization.

Unfortunately, this is contrary to the Lender’s objective to seize the Property and hold this case

in abeyance until the hearing on the Lender’s motion to dismiss so that the Lender can argue that

the Debtors supposedly do not have a reorganization in prospect. Allowing the Lender to hold

these bankruptcy cases hostage is improper and should not be permitted by the Court.

       34.     As a result, the Debtors request that the Court enter the Proposed Alternative Oder

as soon as practicable, which will allow the Debtors an opportunity to make progress and


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reorganize. The Lender’s attempt to force a different outcome should not be permitted to drive

this process.



                            WAIVER OF MEMORANDUM OF LAW

        35.     Pursuant to D.N.J. LBR 9013-2, the Debtors respectfully request that the Court

waive the requirement that it file a memorandum of law in support of its Cross-Motion. No

memorandum of law is necessary because no novel issues of law are presented herein.

                                       CONCLUSION

        WHEREFORE, for all the foregoing reasons, the Debtors respectfully request that the

Court enter the Proposed Alternative Order, and grant such other and further relief as the Court

deems just and equitable.



Dated: September 20, 2021                          Respectfully submitted,
Morristown, New Jersey
                                                   RIKER DANZIG SCHERER HYLAND &
                                                   PERRETTI LLP

                                                   By:     /s/ Joseph L. Schwartz
                                                           Joseph L. Schwartz

                                                   Proposed Counsel to the Debtors and
                                                   Debtors-in-Possession




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